     Case 2:23-cr-00599-MCS    Document 220 Filed 09/04/24          Page 1 of 7 Page ID
                                       #:4329


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16                            UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18 UNITED STATES                                    Case No. 2:23-cr-00599-MCS
19
                        Plaintiff,                  Hon. Mark C. Scarsi
20
            vs.                                     MR. BIDEN’S BRIEF ON
21                                                  SEPARATE VENUE JURY
      ROBERT HUNTER BIDEN,                          INSTRUCTIONS
22
23                      Defendant.                  Hearing Date: September 5, 2024
                                                    Hearing Time: 9:00 a.m.
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                                                    Courtroom:    7C
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                     DEFENDANT’S BRIEF ON SEPARATE VENUE JURY INSTRUCTIONS
                                     CASE NO. 2:23-CR-00599-MCS-1
     Case 2:23-cr-00599-MCS     Document 220 Filed 09/04/24        Page 2 of 7 Page ID
                                        #:4330


 1
            Defendant Robert Hunter Biden, by and through his counsel of record, hereby
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      submits this brief on why the Court should give separate venue jury instructions for
 3
      Counts One through Four of the Indictment and reserves his right to request the same
 4
      separate instruction as to all remaining counts at the close of the evidence.
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 6
      Dated: September 4, 2024                             Respectfully submitted,
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 8
                                                           /s/ Mark Geragos
 9                                                         Mark J. Geragos
                                                           Tina Glandian
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13                                                         Attorneys for Robert Hunter Biden
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                      DEFENDANT’S BRIEF ON SEPARATE VENUE JURY INSTRUCTIONS
                                    CASE NO. 2:23-CR-00599-MCS-1
     Case 2:23-cr-00599-MCS     Document 220 Filed 09/04/24        Page 3 of 7 Page ID
                                        #:4331


 1                   MEMORANDUM OF POINTS AND AUTHORITES
 2                                      INTRODUCTION
 3          Mr. Biden requests separate venue instructions for Counts One through Four of
 4    the Indictment and reserves his right to request separate venue instructions for each
 5    additional count of the Indictment at the conclusion of the evidence, as may be
 6    appropriate.
 7          During the final pretrial conference on August 21, 2024, when discussing the
 8    jury instructions on venue, the Special Counsel blatantly misrepresented that Mr.
 9    Biden had previously challenged venue only as to one count.
10          MR. WISE: Your Honor, on that, I guess just -- it is something they have to
11          raise, right, and then it triggers the instruction? So the instruction isn’t given
12          unless they actually put in evidence that he was somewhere living -- that his
            home was somewhere other than the Central District of California or there was
13          a reason why venue does not lie here?
14          THE COURT: Right.
15          MR. WISE: So we haven’t seen any of that.
            MR. GERAGOS: I thought they already did a motion with – I say “they” -- we -
16          - proverbial we, Winston Strawn, already did a motion on venue and --
17          MR. WISE: They did.
18          MR. GERAGOS: -- if that’s the case and I believe I read it early on if that’s the
            case, we’ve already given them a roadmap and we will raise it at trial.
19          MR. WISE: That was only as to one count.
20          THE COURT: Right.
21          MR. WISE: They did it as to one count.
      Aug. 21, 2024, Reporter’s Transcript at 139:13-40:5 (emphases added).
22
            However, as the Special Counsel well knows, Mr. Biden previously moved to
23
      dismiss the Indictment for Improper Venue on four counts, not one, namely Counts
24
      One through Four of the Indictment. See D.E. 32. He now seeks separate jury
25
      instructions on venue to avoid jury confusion since the conduct at issue took place in
26
      multiple districts over the course of several years.
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28
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                      DEFENDANT’S BRIEF ON SEPARATE VENUE JURY INSTRUCTIONS
                                    CASE NO. 2:23-CR-00599-MCS-1
     Case 2:23-cr-00599-MCS     Document 220 Filed 09/04/24        Page 4 of 7 Page ID
                                        #:4332


 1
                                           ARGUMENT
 2
            The United States Constitution affords criminal defendants the right to be tried
 3
      in a district where the crime was committed; this constitutional protection underlines
 4
      the importance of correct venue determination by the trier of fact. United States v.
 5
      Ghanem, 993 F.3d 1113, 1119 (9th Cir. 2021). Specifically, Article III of the U.S.
 6
      Constitution, the Sixth Amendment to the U.S. Constitution, and Rule 18 of the
 7
      Federal Rules of Criminal Procedure guarantee that a defendant will be tried in the
 8
      state where the crime is alleged to have been committed. U.S. Const. art. III, § 2, cl. 3;
 9
      U.S. Const. amend. VI; Fed. R. Crim. P. 18.
10
            “Proper venue is not a mere technicality.” United States v. Lukashov, 694 F.3d
11
      1107, 1119 (9th Cir. 2012).        “Instead, a defendant in a criminal case has a
12
      constitutional right to be tried in a district where the crime was committed.” Id. See
13
      also United States v. Corona, 34 F.3d 876, 879 (9th Cir. 1994) (“Questions of venue
14
      in criminal cases are not merely matters of formal legal procedure. They raise deep
15
      issues of public policy.”) (internal quotations omitted).
16
            When a criminal defendant has been indicted on multiple counts, venue must be
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      proper for each separate count.    United States v. Pace, 314 F.3d 344, 349 (9th Cir.
18
      2002). Accordingly, a separate venue instruction for each count where venue is
19
      disputed is critical to ensure that proper venue is proven and established for each
20
      separate count, as required by law. United States v. Ghanem, 993 F.3d 1113, 1120
21
      (9th Cir. 2021) (“…we must consider venue for each count separately, even if the
22
      same conduct is charged in multiple counts.”); see also United States v. Corona, 34
23
      F.3d 876, 879 (9th Cir. 1994) (“The court must conduct a separate venue analysis for
24
      the substantive crimes and the conspiracy, even if the substantive crimes are
25
      committed in furtherance of the conspiracy.”).
26
            As the Ninth Circuit has explained,
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                                                4
                      DEFENDANT’S BRIEF ON SEPARATE VENUE JURY INSTRUCTIONS
                                    CASE NO. 2:23-CR-00599-MCS-1
     Case 2:23-cr-00599-MCS     Document 220 Filed 09/04/24         Page 5 of 7 Page ID
                                        #:4333


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 2          Controlling circuit law establishes that, although venue is not an
            element of the offense, nevertheless “it must still be proved by the
 3          government at trial.” “Venue is a question of fact that the government
 4          must prove by a preponderance of the evidence.” It is a jury question.
            “[N]ormally it is not for the court to determine venue” and “it is error
 5          to not give a requested instruction on venue.” Venue is “part of the
 6          bedrock of our federal system,” and proper venue is a “constitutional
            right,” “not a mere technicality.” The district court therefore could not
 7          properly decide venue itself and should have submitted the issue to
 8          the jury.
 9    United States v. Moran-Garcia, 966 F.3d 966, 969 (9th Cir. 2020).

10          Venue is a question of fact, and the government bears the burden to prove venue

11    by a preponderance of the evidence. United States v. Lukashov, 694 F.3d 1107, 1120

12    (9th Cir. 2012). In a jury trial, it is the jury’s responsibility to determine that venue

13    exists, and it is error for the court to decline to give an instruction on venue if properly

14    requested. Id.

15          Contrary to the Special Counsel’s representation during the August 21, 2024

16    final pretrial conference that the defendant has the burden to raise and “put into

17    evidence” that venue is disputed, see Aug. 21, 2024 Reporter’s Transcript, at 139:13-

18    18, venue is a question of fact for which the prosecution bears the burden of proof.

19    See United States v. Casch, 448 F.3d 1115, 1117 (9th Cir. 2006); see also United

20    States v. Moran-Garcia, 966 F.3d 966, 971 (9th Cir. 2020) (“Venue is not an element

21    of the crime. Unlike an element, it need not be proved beyond a reasonable doubt. But

22    venue does need to be put to the jury, and proved by the government, albeit only by a

23    preponderance of the evidence.”) (emphasis added).

24          Incorrect venue instructions or those that lack clarity can lead to reversible error,

25    particularly in cases involving conduct in multiple districts. See United States v.

26    Ghanem, 993 F.3d 1113, 1130 (9th Cir. 2021) (“Because the right to trial in the proper

27    venue is constitutional, we deem an erroneous venue instruction harmful unless the

28    government shows beyond a reasonable doubt that the error was harmless. That is, the
                                                 5
                       DEFENDANT’S BRIEF ON SEPARATE VENUE JURY INSTRUCTIONS
                                     CASE NO. 2:23-CR-00599-MCS-1
     Case 2:23-cr-00599-MCS     Document 220 Filed 09/04/24        Page 6 of 7 Page ID
                                        #:4334


 1
      government must show that there was no “reasonable possibility that the error
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      materially affected the verdict.” (internal citations omitted).
 3
            When a court fails to give a venue instruction to the jury, that error will be
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      viewed as harmless only if the evidence viewed rationally by a jury could only support
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      a conclusion that venue existed. United States v. Moran-Garcia, 966 F.3d 966, 970
 6
      (9th Cir. 2020). While here, this Court is not refusing to the give an instruction on
 7
      venue, the Court has proposed to only give the instruction one time as opposed to after
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      each count where venue has been disputed, as requested by Mr. Biden. The defense
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      has proposed a separate venue instruction for Counts One through Four to prevent
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      error and jury confusion during deliberations where venue may be found to exist for
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      one count, and jurors mistakenly believe that means venue is also appropriate for the
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      other counts in the Indictment. A separate venue instruction following each count will
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      clarify that the establishment of proper venue as to one count does not automatically
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      imply proper venue for the other counts. This is especially necessary here where the
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      different counts in the Indictment relate to actions and conduct occurring in different
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      jurisdictions over several years. Providing separate venue instructions as requested by
17
      Mr. Biden will assist the jury to understand and evaluate the venue appropriateness of
18
      each count independently.
19                                        CONCLUSION
20          For the foregoing reasons, Mr. Biden respectfully requests that the Court
21    provide a separate instruction as to venue as to Counts One through Four of the
22    Indictment. Mr. Biden reserves his right to request that a separate instruction on
23    venue be provided on the additional counts at the close of the evidence.
24
25    Dated: September 4, 2024                           Respectfully submitted,
26                                                       /s/ Mark Geragos
27                                                       Mark J. Geragos
                                                         Tina Glandian
28                                                       Setara Qassim
                                                6
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     Case 2:23-cr-00599-MCS   Document 220 Filed 09/04/24       Page 7 of 7 Page ID
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